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14
15                        IN THE UNITED STATES DISTRICT COURT
16                              FOR THE DISTRICT OF ARIZONA
17
     United States of America,                            No. CR-18-00422-PHX-SPL
18
                           Plaintiff,                 GOVERNMENT’S RESPONSE IN
19                                                     OPPOSITION TO MOTIONS TO
              v.                                      DISMISS DUE TO GOVERNMENT
20                                                   INTERFERENCE WITH RIGHT TO
                                                       COUNSEL AND REQUEST FOR
21   Michael Lacey, et al.,                               DISCLOSURE OR, IN THE
                                                        ALTERNATIVE, MOTION TO
22                         Defendants.                           WITHDRAW
                                                         (Docs. 456, 463, 464, 465, 467)
23
24
25
26
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 1                                  SUMMARY OF ARGUMENT
 2            After unsuccessfully moving for a four-month continuance of the case management
 3   deadlines (Doc. 443), Defendants Padilla and Vaught (joined by Defendants Lacey, Larkin,
 4   Spear and Brunst) (collectively, “Defendants”) recycle the exact same arguments in an
 5   attempt to seek the even more extreme remedy of dismissal of the Superseding Indictment.
 6   For several reasons, Defendants’ motion should be denied.
 7            First, Defendants do not have the right to use tainted funds for attorneys’ fees.
 8   Second, Defendants have been given numerous opportunities to demonstrate that they do
 9   not have sufficient untainted funds for their legal defense to trigger a Monsanto hearing, and
10   they still have not availed themselves of this opportunity. Third, Defendants have repeatedly
11   refused to address the considerable evidence that Backpage was a criminal enterprise
12   engaged in numerous illegal business practices (e.g., moderation, a financial relationship (to
13   increase revenue) with The Erotic Review, aggregation (copying ads from other known
14   prostitution websites), giving preference to ads posted by known “super” pimps, engaging
15   in money laundering activities by concealing Backpage as the recipient of ad fees, etc.).
16   None of these activities implicate First Amendment protections. Last and importantly,
17   funds deposited in attorneys’ trust accounts (before the original March 2018 indictment)
18   were seized after the Backpage website was closed, the CEO pleaded guilty to operating an
19   illegal business, and all related Backpage entities similarly pleaded guilty to being a criminal
20   enterprise. In short, neither expressive materials nor revenue from an ongoing publishing
21   business were ever seized. The motion should be denied.
22   I.       PROCEDURAL BACKGROUND
23            A.     Backpage Sends Millions in Proceeds to Attorney IOLTAs
24            Following a torrent of civil and criminal litigation 1 and a Senate Subcommittee
25   Report, 2 Defendants directed Backpage CEO Carl Ferrer to wire millions of dollars in
26   Backpage proceeds to a number of attorneys and law firms for “future litigation.”
27
     1
28       See Doc. 230 at ¶¶ 140, 144.
     2
         See Doc. 230 at ¶ 151.
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 1   Specifically, between approximately February 2017 and March 2018, in anticipation of
 2   “future legal services” and potential government seizure of Backpage-held bank accounts,
 3   Backpage directed more than $16 million in large and widespread retainer payments to
 4   lawyers and law firms around the country. 3 For example, one law firm that previously
 5   represented Defendant Larkin received $5,279,173.07 in Backpage proceeds for prepayment
 6   of “future legal services.” Between May 2017 and January 2018, that law firm received
 7   more than $3.2 million in wires directly from one of Backpage’s foreign bank accounts, and
 8   then $2 million directly from Backpage LLC’s operating account.
 9          On March 28, 2018, Defendants were indicted on charges of conspiracy, Travel Act
10   violations to facilitate prostitution, conspiracy to commit money laundering, concealment
11   money laundering, transactional money laundering, and international promotional money
12   laundering.    (Doc. 3.)    In that Indictment, the Government included notice of the
13   Government’s intent to forfeit “[a]ll right, title, and interest in any and all property, real or
14   personal, constituting, or derived from, any proceeds obtained, directly or indirectly, as a
15   result of the offenses” and “any and all property, real or personal, involved in or traceable
16   to” any money laundering offenses. (Doc. 3 at 57 (emphasis added).) Those assets included
17   certain assets identifiable at that time as well as funds placed in Interest on Lawyers Trust
18   Accounts (“IOLTAs”) around the country as criminal proceeds and/or property involved in
19   money laundering offenses.
20          B.     Backpage and CEO Carl Ferrer Plead Guilty and Forfeit All Assets
21          On April 5, 2018, prior to arrests and the unsealing of the Indictment, and pursuant
22   to plea agreements, Backpage.com, LLC (“Backpage”) and its related entities 4, and Carl
23   Ferrer, Backpage, LLC’s CEO, (collectively, the “Backpage Defendants”), pleaded guilty
24   to various charges including conspiracy to commit a violation of the Travel Act and
25   conspiracy to launder funds. (See CR18-00465 at Docs. 4, 8, 10; CR18-00464, at Doc. 4,
26
     3
       These facts were not known during the investigation, but were provided by CEO Carl
27
     Ferrer after he entered a guilty plea and cooperated in the Government’s case.
     4
28     The related entities are Website Technologies, LLC, Posting Solutions, LLC, Amstel River
     Holdings, LLC, Ad Tech BV, and UGC Tech Group BV.

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 1   7, 12, 20.) As part of their plea, the Backpage Defendants admitted guilt and consented to
 2   the forfeiture of all corporate assets and other property owned or controlled by Backpage.
 3   Preliminary Orders of Forfeiture were issued in both cases. (Docs. 22, 23, respectively.)
 4   The Preliminary Orders of Forfeiture incorporated the list of forfeitable assets set forth in
 5   the Backpage Defendants’ Plea Agreements and expressly provided that the court would
 6   “retain jurisdiction to enforce this Order, and to amend it as necessary pursuant to Fed. R.
 7   Criminal. P. 32.2(e).” (See CR18-00465, Doc. 22.) In all, between seizure warrants issued
 8   by the Central District of California, and the assets specifically identified in the later-
 9   returned Superseding Indictment, 5 26 locations in real property, 89 bank accounts, and 268
10   domain names were seized in total, all related to the conviction of the Backpage Defendants.
11          On June 29, 2018 and July 1, 2018, several, if not all of Defendants filed verified
12   third-party claims, asserting their interests in property listed in the Preliminary Orders of
13   Forfeiture and requesting hearings to determine the matter. (See Docs. 28-40 in CR18-
14   00465, and Docs. 29-41 in CR18-00464.) Because the three criminal cases in this district
15   were still ongoing, the Government sought claimants’ position on the Government’s
16   impending motion to stay; all of them objected.
17          Shortly after, on August 1, 2018, Defendants filed a Motion to Vacate or Modify
18   Seizure Warrants (“Motion to Vacate or Modify”) in the CDCA. (CV 18-06742-RGK-PJW,
19   Doc. 6.) Relying on previous assertions, the Motion to Vacate or Modify argued the seizures
20   were void because the assets constituted proceeds of a publishing enterprise protected by
21   the First Amendment, and sought an evidentiary hearing. Id. A hearing was originally
22   scheduled for August 29, 2018, but was later taken off the calendar because the court ruled
23   that it could decide on the pleadings. (CV 18-06742-RGK-PJW, Doc. 55.)
24          C.     The Government Executes Its First Seizure Warrant on an IOLTA
25          On August 8, 2018, pursuant to seizure warrants issued out of the CDCA, the
26
     5
       On July 25, 2018, a Grand Jury in the District of Arizona returned a Superseding
27
     Indictment that charged Defendants with largely the same offenses, but added additional
28   assets for forfeiture. (Doc. 230.)



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 1   Government seized $6,292,201.67 of funds alleged to be involved in Backpage’s money
 2   laundering scheme, which were held in an IOLTA maintained by the law firm of Davis
 3   Wright Tremaine (“DWT”). 6 The Government served the warrant on the bank, and then
 4   worked with DWT to accept a wire of the seized funds in an effort to minimize disruption
 5   to the firm’s operations.
 6          D.     Defendant Brunst’s Request to Sell Restrained House for Attorneys’ Fees
 7          That same week, Defendant Brunst requested that the Government stipulate to the
 8   interlocutory sale of a parcel of real property upon which counsel for Defendant Brunst had
 9   recorded a lien in order to secure attorney’s fees related to this matter. The Government
10   agreed to stipulate upon the condition that any proceeds in excess of the lien would be
11   deposited into a Government account and held as substitute res pending the criminal
12   forfeiture proceedings. 7 Counsel for Defendant Brunst agreed but never submitted a
13   proposed sale agreement. See, Correspondence between the Government and Counsel for
14   Defendant Brunst, dated August 8, 2018, attached hereto as Exhibit 2. Upon information
15   and belief, Defendant Brunst still owns the property (through his personal trust, JMB Trust),
16   and the mortgage/lien for attorneys’ fees remains on the property.
17          E.     Delaware Advancement Proceedings
18          On notice that the Government intended to seize criminal proceeds alleged to be held
19   in IOLTAs, on August 16, 2018, Defendants Lacey, Larkin, Spear, and Brunst (and several
20
21
22
     6
23     At the time of seizure, DWT already had earned $1,088,715.63, however, out of an
     “abundance of caution” and “to avoid any dispute,” DWT never transferred its earned fees
24   into its operating account. See, Email Correspondence from DWT to the Government, dated
     August 8, 2018, attached hereto as Exhibit 1.
25   7
       In correspondence with the Government, counsel for Defendant Brunst indicated they had
26   recorded an attorneys’ fee lien on the property. However, a search of public records
     indicates that BIRD MARELLA BOXER WOLPERT NES PRIVATE INDIVIDUAL
27
     granted the owner of the property, JMB Trust (John and Mary Brunst Trust), a mortgage in
28   the amount of $1,925,000 on June 21, 2018.



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 1   of their related entities 8, collectively, the “Delaware Plaintiffs” 9) filed under seal an 84-page
 2   civil complaint in Delaware State Chancery Court against the Backpage Defendants and
 3   their related entities, attempting to collaterally and preemptively collect assets that they
 4   knew were subject to federal forfeiture—in direct contravention of 21 U.S.C. § 853(n).
 5   (Camarillo Holdings, LLC vs. Amstel River Holdings, LLC, Del. Ct. of Chancery, Case No.
 6   2018-0606-SG, Aug. 16, 2018, Doc. 1.)
 7          The same day, the Delaware Plaintiffs filed a Motion for Expedited Proceedings,
 8   requesting “trial be scheduled as soon as the Court’s calendar permits in the 45-60 day time-
 9   frame [sic].” (Id. at Doc.15.) The Delaware Plaintiffs sought two forms of relief from the
10   Delaware Court: 1) advancement of attorneys’ fees for the “defense costs and expenses that
11   have been and [may] be incurred by [the Delaware] Plaintiffs with respect to claims that
12   have been asserted against them in numerous civil, criminal, administrative, and
13   investigative matters;” and 2) permission to use certain funds held by [the Delaware
14   Plaintiffs’] counsel”. 10
15          Despite their attempts to expedite the case and secure an order from the Delaware
16   Chancery Court granting them attorneys’ fees, the Delaware Plaintiffs were not able to get
17   an immediate summary ruling, and the matter remains pending. While a detailed summary
18   of the proceedings is not necessary here, it is important to note that the Government filed a
19   Motion to Intervene, which was granted on February 18, 2019, and joined in the Backpage
20   Defendants’ Motion for Stay of Proceedings on February 22, 2019. (Camarillo Holdings,
21   8
       The related entities include Camarillo Holdings, LLC, Cereus Properties, LLC, Medalist
22   Holdings, Inc., Leeward Holdings, LLC, Vermillion Holdings, LLC and Shearwater
23   Investments, LLC.
     9
        The Delaware Plaintiffs include Lacey, Larkin, Spear and Brunst, but not Padilla and
24   Vaught.
     10
        According to the Verified Complaint, “certain funds held by [Plaintiffs’] counsel” include
25
     advanced fee deposits at Davis Wright Tremaine, LLP (¶ 176), Perkins Coie LLP (¶ 183),
26   Prince Lobel Tye LLP (¶ 189), Copeland, Franco, Screws & Gill, P.A. (¶ 194), Wayne B.
     Giampietro LLC (¶ 199), Walters Law Group (¶ 204), Akin Gump Strauss Hauer & Feld
27   LLP (¶ 209), Thompson Coburn LLP (¶ 213), and Rusing Lopez & Lizardi, PLLC Trust
28   Funds (¶ 218). Camarillo Holdings, LLC vs. Amstel River Holdings, LLC, Del. Ct. of
     Chancery, Case No. 2018-0606-SG, Doc. 49.

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 1   LLC vs. Amstel River Holdings, LLC, Del. Ct. of Chancery, Case No. 2018-0606-SG.) Oral
 2   argument is scheduled for March 8, 2019.
 3         F.     The CDCA Civil Forfeiture Proceedings
 4         Between October 5 and 11, 2018, in CDCA, the Government filed civil forfeiture
 5   complaints concerning almost the exact same Backpage-related assets identified in the
 6   District of Arizona criminal indictments. On October 23, 2018, the CDCA district court
 7   granted the Government’s motion to stay all of the civil forfeiture proceedings that were
 8   directly related to the criminal proceedings in the District of Arizona. (CV 18-06742-RGK-
 9   PJW, Doc. 85.) In so doing, the CDCA court expressed concern that the “[d]eterminations
10   made by [the CDCA court, including the same First Amendment claims Defendants now
11   reassert] on the pending motions could ultimately have preclusive effect on the criminal
12   matter [pending in the District of Arizona].” (CV 18-08420-RGK-PJW, Doc. 15.) The
13   CDCA court saw “no reason why [Defendants’] pending motions [and First Amendment
14   claims] could not be brought in the criminal action.” Id. Six days later, Defendants Larkin,
15   Lacey, Spear and Brunst filed a notice of appeal to the Ninth Circuit from the CDCA order
16   granting the stay. (CV 18-06742-RGK-PJW, Doc. 86.) That appeal is pending.
17         G.     The Government Obtains Additional Seizure Warrants on IOLTAs
18         On October 31, 2018, the Honorable Rozella A. Oliver, United States Magistrate
19   Judge for the CDCA, issued 12 additional seizure warrants for funds held in 17 different
20   bank accounts, which were held in the names of 15 different law firms (collectively, the
21   “IOLTA Seizure Warrants”). The IOLTA Seizure Warrants were issued upon the CDCA
22   Court’s probable cause finding that, pursuant to 18 U.S.C. § 981(a)(1)(A) and (C), the funds
23   were property involved in or traceable to money laundering, or were proceeds of violations
24   of 18 U.S.C. §§ 1952, 1956, and 1957 (interstate and foreign travel or transportation in aid
25   of racketeering enterprises, and money laundering offenses).
26         The Government had intended to serve the seizure warrants on the banks to which
27   they were issued, but because of what had occurred with DWT (where service of seizure
28   warrants initially prompted the bank to freeze all of the firm’s accounts), the Government



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 1   attempted to take a more collaborative approach to executing the warrants. To prevent
 2   similar interruptions, the Government contacted the 15 law firms affected by the Seizure
 3   Warrants before executing the warrants at the respective banks. Beginning on November 6,
 4   2018, the Government began making courtesy calls to these law firms to offer a wire-in-
 5   lieu-of-execution of the seizure warrants. (See, Doc. 360, Ex. C at 1.) The Government
 6   explained to each law firm that while normally these warrants would be served on the bank,
 7   the Government was attempting to minimize interruption by allowing the firms to wire the
 8   funds to the Government instead. Many of the law firms accepted the Government’s offer
 9   and wired the funds without incident.
10          Two days after the Government notified the affected firms, on November 8, 2018,
11   counsel for Defendants Padilla and Vaught challenged the warrants issued by the CDCA
12   court, but filed their Emergency Motion to Stay Seizure of Attorneys’ Fees and Request for
13   Immediate Hearing in the District of Arizona. (See Doc. 360.) Shortly after, counsel for
14   defendants Lacey, Larkin, Brunst, and Spear filed a motion to join (Doc. 366), despite the
15   fact that the warrants were not directed to their counsel and they had no standing to contest
16   them. On November 16, 2018, this Court denied their motions. (Doc. 393.)
17          However, challenges to the IOLTA Seizure Warrants were also filed in CDCA,
18   where the warrants were issued. On November 21, 2018, Defendants and other parties who
19   were affected by the IOLTA Seizure Warrants renewed their efforts to stay execution of the
20   IOLTA Seizure Warrants; they also sought a Franks hearing on the affidavits. 11 On
21   December 12, 2018, the Honorable Magistrate Judge Rozella A. Oliver heard argument
22   regarding the pending motions to stay execution of the seizure warrants. (CDCA 2:18-MJ-
23   02875, Doc. 23. 12) Judge Oliver has not yet ruled on the motions.
24
     11
        The warrant matters in CDCA are MJ 18-2872; MJ 18-2873; MJ 18-2874; MJ 18-2875;
25
     MJ 18-2876; MJ 18-2878; MJ 18-2880; and MJ 18-2883.
     12
26      During the hearing, Judge Oliver noted that the parties should maintain the “status quo”
     while she was taking the matter under submission. Because the Government interpreted this
27
     to mean that things should remain exactly as they were at that point, i.e., the Government
28   would not obtain any new warrants, and those firms to whom the warrants were issued



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 1          H.     Defendants File Motions to Stay the Ancillary Proceedings
 2          On November 7 and 9, 2018, Defendants filed motions to stay and postpone the
 3   ancillary proceedings in the Backpage Defendants’ criminal cases. (See CR18-00465 at
 4   Docs. 51-57; CR18-00464, at Docs. 44-50.) Despite having previously objected to the
 5   Government’s request for a stay, Defendants now asked this Court to stay the ancillary
 6   proceedings so that the Delaware Chancery Court could rule first on the request to advance
 7   attorneys’ fees. (See CR18-00465, Doc. 51 at 3.) Acknowledging that in the ancillary
 8   proceeding this Court’s “determination of who ‘owns’ or has an interest in property is
 9   governed by state law,” Defendants argued that “it makes sense 13 to stay the Ancillary
10   Hearing until [the Delaware Court] renders its decision.” Id. The Court held a hearing on
11   all of the pending motions, including Defendants’ motion to continue the trial on January
12   25, 2019. (CR-18-00465-PHX-SPL, Doc. 75.) The Court denied Defendants’ motion to
13   continue the trial and declined to rule on the fee issue, noting that if the Ninth Circuit Court
14   of Appeals issued an opinion, the Court would proceed accordingly. (Doc 459 at 67.) The
15   Court reset the hearing on the motions to stay ancillary proceedings for June 21, 2019.
16   would not move any funds, the Government asked counsel to leave the funds in their
17   IOLTAs until litigation over this matter was resolved by the court. See Doc. 456, Ex. 8.
     Counsel for Defendant Padilla, however, had already offered and agreed to this. See,
18   Correspondence between the Government and Piccarreta, attached hereto as Exhibit 3.
     13
19      It is surprising that this “made sense” to Defendants given that nearly every court to hear
     the issue has held that neither a third party claiming an interest in property subject to federal
20   forfeiture, nor a defendant in a criminal case, may file any action in another court to
21   circumvent the forfeiture procedure. If such an action is filed, the court where that action is
     pending must find that it lacks subject matter jurisdiction over the matter. See, United States
22   ex rel. Chepurko v. E-Biofuels, LLC, 2019 WL 162607, *9-10 (S.D. Ind. Jan. 10, 2019)
23   (because § 853 gives the criminal court exclusive jurisdiction over questions of title to the
     forfeited property, court where qui tam action is pending lacks subject matter jurisdiction
24   over relator’s claim); In re Guildmaster, Inc., 2013 WL 1331392, *6 (D. Maine Mar. 29,
     2013) (bankruptcy court lacks jurisdiction under § 853(k) to decide ownership issues on
25
     which forfeiture in a pending criminal case will turn); JP Morgan Chase Bank N.A. v. Khalil,
26   2006 WL 87599 (N.D. Ill 2006) (granting Rule 12(b)(1) motion to dismiss a foreclosure
     action for lack of subject matter jurisdiction where § 853(k) bars a third party from
27   attempting to litigate his interest in property, or the forfeitability of the property, in a
28   foreclosure action in another forum).



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 1   II.     ARGUMENT
 2           A.    Defendants are Not Entitled to Use Criminal Proceeds for Their Defense
 3           Neither the Fifth nor the Sixth Amendment requires Congress to permit a defendant
 4   to use tainted assets adjudged to be forfeitable to pay legal fees. See Caplin & Drysdale v.
 5   United States, 491 U.S. 617, 633 (1989) (post-trial); United States v. Monsanto, 491 U.S.
 6   600, 616 (1989) (pretrial). Congress’ rationale for this was clear: “[p]ermitting a defendant
 7   to use assets for his private purposes that ... will become the property of the United States if
 8   a conviction occurs cannot be sanctioned.” Monsanto, 491 U.S. at 613.
 9           Defendants rely heavily on United States v. Stein for the proposition that, because
10   they were former employees of Backpage, and they had an expectation to receive attorneys’
11   fees as a benefit or prerequisite of employment, the Government’s seizure of funds they
12   intended to use for their defense constitutes “improper interference” 14 with their Sixth
13   Amendment right to obtain counsel. Stein, 541 F.3d 130, 155 (2nd Cir. 2008). However,
14   there was no allegation in Stein that the funds intended to be used as attorneys’ fees were
15   tainted—to the contrary, it was uncontested that the defendants were claiming clean,
16   untainted funds from KPMG, and the government’s interference with their use of untainted
17   funds was a violation of their Sixth Amendment rights. Id. The Second Circuit specifically
18   noted that “there is no Sixth Amendment right for a defendant to obtain counsel using tainted
19   funds,” and a defendant’s Sixth Amendment right to hire the attorney of his choice only
20   applies to the right “to use wholly legitimate funds”. Id. (citing United States v. Farmer,
21   274 F.3d 800, 804 (4th Cir. 2001) (emphasis in original).
22
     14
23     Defendants, who have all joined in Sections I and II of Doc. 456, accuse the Government
     of “bad-faith wrongful prosecution,” making threats, and claim that the Government’s
24   “‘ends justify the means’ approach is unseemly and unworthy of the United States
     government.” Doc. 456, passim. These are thinly veiled accusations of government
25
     misconduct. Counsel for Defendant Padilla has already been warned by this Court that,
26   should he wish to make allegations of government misconduct, he “should be prepared to
     have an affidavit signed by [him] and notarized to a state bar” because, unless he is seeking
27   a remedy from the Court “for some form of misconduct … [he should] leave the name
28   calling out of this litigation.” Doc. 459 at 64-65 (excerpts attached hereto as Exhibit 4).



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 1         Defendants attempt to cloak their criminal conspiracy to facilitate prostitution and
 2   child sex trafficking, and their extensive laundering of those proceeds, as a “First
 3   Amendment right.” That is not the law.
 4                1.     Defendants Do Not Have a “First Amendment Right” to Commit
                         or Facilitate Criminal Activity
 5
           The Supreme Court has long recognized that speech proposing an illegal transaction
 6
     falls entirely outside of First Amendment protection. Central Hudson Gas & Elec. Corp.
 7
     v. Pub. Serv. Comm’n of N.Y., 447 U.S. 557, 563-64 (1980). The First Amendment does
 8
     not protect advertising adult or underage prostitution. See, e.g., Pittsburgh Press Co. v.
 9
     Human Relations Comm’n, 413 U.S. 376, 388 (1973) (“We have no doubt that a newspaper
10
     constitutionally could be forbidden to publish a want ad…soliciting prostitutes.”); United
11
     States v. Stevens, 559 U.S. 460, 468-69 (2010) (“From 1791 to the present…the First
12
     Amendment has permitted restrictions upon the content of speech in a few limited areas”
13
     including “speech integral to criminal conduct…the prevention and punishment of which
14
     have never been thought to raise any Constitutional problem.”).
15
           For these reasons - and as discussed in some of the earliest pleadings in this case - a
16
     website or website operator may be prosecuted under federal law for knowingly facilitating
17
     prostitution or other types of illegal conduct. (Doc. 42 at 2-5, incorporated herein by this
18
     reference); see also United States v. Omuro, N.D. Cal. No. CR 14-CR-336 (18 U.S.C. §
19
     1952 conviction of the founder of www.myRedBook.com; Omuro (like Ferrer) admitted
20
     that “[t]he website hosted advertisements, the vast majority of which were posted by
21
     prostitutes containing … the sexual services they offered, and their rates … As such, the
22
     website promoted and facilitated … prostitution...”); United States v. Hurant, E.D.N.Y No.
23
     CR 16-45 (18 U.S.C. § 1952 conviction for the founder of www.Rentboy.com, who admitted
24
     he “was well aware … that the escort ads he posted … were thinly-veiled proposals of sexual
25
     services in exchange for money.”); cf. United States v. Ulbricht, 31 F. Supp. 3d 540, 556
26
     (S.D.N.Y. 2014) (founder of “Silk Road” website prosecuted for allegedly creating and
27
     operating “an expansive [online] black market for selling and purchasing narcotics and
28
     malicious software,” separating his alleged conduct “from the mass of others whose


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 1   websites may - without their planning or expectation - be used for unlawful purposes”).
 2          Ignoring these prosecutions, Defendants repeatedly assert that courts “[i]n numerous
 3   cases” have held that Backpage.com and ads posted on the website are subject to blanket
 4   First Amendment protection—and the website’s operator and owners have broad immunity
 5   from civil or criminal liability. While some Defendants prevailed in cases seeking civil
 6   remedies or turning on whether Backpage could be prosecuted under state law, those cases
 7   are all distinguishable because Section 230 of the Communications Decency Act of 1996,
 8   47 U.S.C. § 230 (“CDA”), provided a broad grant of immunity in such contexts. The
 9   charges against Defendants in this case, however, are brought under federal criminal law—
10   a context in which the CDA has no application. 47 U.S.C. § 230(e)(1) (“Nothing in this
11   section shall be construed to impair the enforcement of . . . [any] Federal criminal statute.”).
12          Moreover, nearly all of the cases Defendants cite regarding Backpage were decided
13   long before the release of the U.S. Senate’s Permanent Subcommittee on Investigations 50-
14   page Report in 2017, BACKPAGE.COM’S KNOWING FACILITATION OF ONLINE SEX
15   TRAFFICKING, 15 which was accompanied by an 840-page appendix largely consisting of
16   incriminating Backpage documents. 16       The Senate obtained these documents, in part,
17   pursuant to a subpoena it issued in 2015 to Ferrer. After Ferrer declined to comply, the
18   Senate held him in contempt and initiated a lawsuit against him in federal court. During this
19   litigation, Ferrer advanced an array of First Amendment-based challenges to the subpoena,
20   which the district court rejected, holding that the “First Amendment does not protect speech
21   that is itself criminal because it is too intertwined with illegal activity.’” Senate Perm.
22   Subcommittee on Inv. v. Ferrer, 199 F. Supp. 3d 125, 138, 140 (D.D.C. 2016), vacated as
23   moot, 856 F.3d 1080 (D.C. Cir. 2017). 17
24   15

25   https://www.hsgac.senate.gov/imo/media/doc/Backpage%20Report%202017.01.10%20FI
     NAL.pdf.
26   16
        https://www.hsgac.senate.gov/imo/media/doc/Final%20Appendix%202017.01.09.pdf
     17
        Congress amended the CDA in April 2018, putting Defendants on further notice that the
27
     CDA: “was never intended to provide legal protection to websites that unlawfully promote
28   and facilitate prostitution and … facilitate traffickers in advertising the sale of unlawful sex



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 1          The Senate’s subpoena - which started the process of pulling back the curtain on
 2   Backpage’s internal workings - was followed by other cases that highlighted Backpage’s
 3   facilitation of prostitution and child sex trafficking. See, J.S. v. Village Voice Media
 4   Holdings, Inc., 359 P.3d 714, 715-16 (Wash. 2015) (denying Backpage’s motion to dismiss
 5   in a lawsuit brought by three minor girls alleging they had been “bought and sold for sexual
 6   services online on Backpage.com”; after extensive discovery, Backpage lost a motion for
 7   summary judgment and entered a confidential settlement); see also, e.g., Jane Doe No. 1 v.
 8   Backpage.com, LLC, 2018 WL 1542056, at *1 (D. Mass. 2018) (denying, in part, motion to
 9   dismiss on First Amendment and CDA grounds, in a civil case brought by a different
10   underage victim; because the plaintiff plausibly alleged Backpage had “redrafted [her]
11   advertisement … to suggest she was an adult,” the CDA did not apply).
12          As detailed in the Superseding Indictment, previous motions and correspondence, the
13   United States has highlighted an array of Backpage business practices that facilitated
14   prostitution. (See e.g., Doc. 230 at ¶¶ 35-152; Doc. 197; Doc. 446; Exhibit 5). These
15   practices include a financial relationship (Backpage defendants paid a monthly fee of
16   $10,000) with a known prostitution website called The Erotic Review. (Id.) Moreover,
17   Defendants engaged in a practice known as “moderation” that removed words indicative of
18   prostitution (including child sex trafficking) and then posted the “sanitized” ad. In addition,
19   Defendants engaged in an activity known as “aggregation” where they trolled other
20   prostitution websites, copied ads from those sites, posted the ads on Backpage for free, and
21   then contacted the pimp or prostitute in an attempt to convert them to a paying client.
22   Finally, to conceal Backpage has the ultimate recipient of proceeds from prostitution,
23   Defendants engaged in a variety of concealment money laundering activities. Defendants,
24   however, consistently avoid addressing these practices in any of their pleadings or
25   correspondence to the United States. (See generally, e.g., Doc. 446 at 9-14, incorporated
26   herein by this reference.)
27
     acts with sex trafficking victims … and [that] clarification of [the CDA was] warranted to
28   ensure that such section does not provide such protection to such websites.” Pub. L. 115–
     164, § 2, Apr. 11, 2018, 132 Stat. 1253. See also note 1, supra.

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                   2.      Defendants Do Not Have a “First Amendment Right” to Proceeds
 1
                           of a Crime
 2          Defendants’ objections to the Government’s seizures of property in this case,
 3   including funds held in IOLTAs, are based on several cases that have no persuasive value
 4   to this Court. Importantly, this is not a case that involves a prior restraint on speech or the
 5   seizure of any expressive materials. 18 Nor is this a case that involves the seizure of the funds
 6   or other assets of an ongoing publishing business. 19 As described herein, Backpage and its
 7   CEO have pleaded guilty and have agreed to forfeit and/or facilitate the forfeiture of the
 8   assets at issue. Backpage has effectively ceased operations and is no longer in the publishing
 9   business. The assets at issue all consist of funds that originated at Backpage, are proceeds
10   of crime or are involved in the laundering of proceeds, and that are subject to forfeiture
11   under the plea agreements.
12          Here, Defendants knew or had reason to know that the millions of dollars deposited
13   into IOLTAs around the country constituted illicit proceeds subject to forfeiture because of
14   their intimate knowledge of and access to Backpage’s business operations, and the fact that
15   they directed and/or retained significant operational control over Backpage’s business
16   activities. (See, e.g., Doc. 230 at ¶ 31); see also United States v. 141st Street Corp., 911
17   F.2d 870, 876-77 (2d Cir. 1990) (corporate officer’s knowledge of drug trafficking at
18   corporation’s building could be imputed to the corporation to defeat innocent owner
19
20   18
        The law draws a critical distinction between pretrial seizures of expressive materials (e.g.,
21   books, films, videotapes) versus non-expressive assets (e.g., bank accounts). Fort Wayne
     Books, Inc. v. Indiana, 489 U.S. 46, 62-67 (1989) (holding that while the pretrial seizure of
22   allegedly obscene books and films, based merely on a probable cause finding, constituted a
23   prior restraint on speech prohibited by the First Amendment, the pretrial seizure of
     petitioner’s non-expressive property did not). (See also Doc. 446 at 5-9, incorporated herein
24   by this reference.)
     19
        In Am. Lib. Ass’n v. Thornburgh, 713 F. Supp. 469, 484 n.19 (D.D.C. 1989), vacated sub
25
     nom. Am. Lib. Ass’n v. Barr, 956 F.2d 1178 (D.C. Cir. 1992), the court invalidated the
26   pretrial seizure of non-expressive material, but did so only on the rationale that pretrial
     seizure of assets of an ongoing publishing business may determine whether the business can
27   continue to publish or not. Here, Backpage has already ceased operations and Defendants
28   have not identified any case law that suggests it is improper to seize the proceeds of a
     business that constituted a criminal enterprise.

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 1   defense). The Government’s seizures in this case were all conducted pursuant to probable
 2   cause findings made by a Grand Jury, Magistrate Judge, or District Court Judge.
 3   Defendants will have an opportunity to contest the seizures or assert related claims in the
 4   Backpage and Ferrer ancillary proceedings pending in this District. Moreover, Defendants
 5   Lacey, Larkin, Spear and Brunst are continuing to pursue litigation relating to these assets
 6   in the CDCA and Ninth Circuit (and even in the Delaware Chancery Court), as described
 7   above. For these and other reasons, Defendants’ instant motion to dismiss should be denied.
 8          B.     Defendants Have Not, and Cannot, Meet the Threshold Showing
                   Required to Make a Monsanto Claim
 9
10          A post-restraint, pretrial hearing to recover funds seized by the Government is

11   available as an exception to the ancillary proceeding remedy, but only if (1) the Sixth

12   Amendment is implicated, and (2) the defendant makes a prima facie showing that there is

13   no probable cause for the forfeiture of the restrained property. Monsanto, 491 U.S. 600, 616

14   (1989). Neither the Fifth nor the Sixth Amendment requires Congress to permit a defendant

15   to use tainted assets adjudged to be forfeitable to pay legal fees. See Caplin & Drysdale v.

16   United States, 491 U.S. 617, 633 (1989) (post-trial); Monsanto, 491 U.S. at 616 (pretrial).

17   Congress’ rationale for this was clear: “[p]ermitting a defendant to use assets for his private

18   purposes that ... will become the property of the United States if a conviction occurs cannot

19   be sanctioned.” Monsanto, 491 U.S. at 613.

20          To seek relief from seizure, a defendant must first make a showing that they do not

21   possess sufficient assets to obtain counsel. Only where all of a defendant’s assets have been

22   seized or restrained are the defendant’s Fifth and Sixth Amendment rights violated. See

23   United States v. Unimex, Inc., 991 F.2d 546, 551 (9th Cir. 1993) (“Unimex’s right to counsel

24   under the Sixth Amendment and to Due Process under the Fifth Amendment were violated

25   by taking away all of its assets, denying it an opportunity to show cause prior to its criminal

26   trial that an amount it could have used for attorneys’ fees was non-forfeitable.”). “To even

27   be entitled to the hearing, defendants must first show a genuine need to use the assets to

28   retain counsel of choice.” See Kaley v. United States, 571 U.S. 320, 353-54 (2014) (Roberts,



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 1   C.J., dissenting) (citing United States v. Bonventre, 720 F.3d 126, 133 (2d Cir. 2013)
 2   (holding that to qualify for a post-restraint Monsanto hearing, the defendant must disclose
 3   his net worth, provide a comprehensive list of his assets, and explain how he has been paying
 4   his significant living expenses; it is not enough to contrast his income stream and bank
 5   account balances with his living expenses and legal fees)).
 6          Courts put the initial burden upon the defendant to show that he lacks sufficient
 7   funds. See United States v. McCray, 113 F. App’x. 770, 772 (9th Cir. 2004) (holding
 8   defendant has no Sixth Amendment right to a hearing unless he offers evidence as to the
 9   source of the restrained property, and “his inability to compensate counsel from other funds
10   available to him”) (citing Unimex, 991 F.2d at 551). After making a showing of financial
11   necessity, 20 a defendant may make a prima facie showing that there is no probable cause for
12   the forfeiture of the restrained property in order to be entitled to a Monsanto hearing. At the
13   probable cause hearing, a defendant cannot challenge the grand jury’s finding of probable
14   cause with respect to the underlying crime, but he retains the right to challenge the probable
15   cause regarding the nexus between the property and the offense. Cf. Kaley v. United States,
16   571 U.S. 320, 341 (2014). However, to be entitled to this remedy, the defendant must first
17   have his assets seized or restrained, and prove that he otherwise has insufficient funds to
18   mount a defense.
19          Defendants argue that the Government should have to litigate the merits of the
20   forfeiture case now, and prove the Government’s theory of forfeitability prior to restraint.
21   But that is not the law and importantly, Defendants have made no threshold showing of
22
23
24   20
       “Perhaps recognizing that Monsanto hearings might be used only to gain a sneak peak of
     the Government’s case and witnesses, thereby wasting prosecutorial resources, a majority
25
     of courts have held that such hearings are necessary, only where the criminal defendant
26   makes at least an initial showing that he has no other assets with which to retain private
     counsel.” United States v. Kramer, No. 1:06CR200-ENV-CLP, 2006 WL 3545026, at *4
27   (E.D.N.Y. Dec. 8, 2006) (citing United States v. Jamieson, 427 F.3d 394, 406 n. 3 (6th
28   Cir.2005) (cataloguing other circuit’s approaches)).



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 1   financial need that would entitle them to such a hearing at this point. 21
 2          The Government has made countless offers to Defendants that it would be willing to
 3   consider a request to release attorneys’ fees, without the need for a formal Monsanto
 4   hearing, if Defendants provided evidence of financial need. 22 But what Defendants actually
 5   want from this Court, and what they have sought in the Delaware Proceedings, is clear - an
 6   end-run around lawful forfeiture proceedings and a means to avoid the threshold showing
 7   requirements of Monsanto. Evidence of this is the smokescreen they raise regarding Ferrer’s
 8   fees 23 and the fact that Defendants still have not come to the Government - or this Court -
 9   and made any attempt to properly request a Monsanto hearing.
10   21
        Defendants Padilla and Vaught offered to “submit evidence of their indigency [sic] to the
11   Court under seal”. Doc. 456 at 18, n. 18. While that arguably may be in compliance with
     this Court’s local rules, it is not sufficient as a matter of law. United States v. Bonventre,
12
     720 F.3d 126, 133 (2d Cir. 2013). Furthermore, the Government does not address the
13   request made by counsel for Defendants’ Padilla and Vaught to withdraw if this Court does
     not order the release of attorneys’ fees. It is the Government’s understanding that, should
14
     Defendants Padilla and Vaught sufficiently make the threshold showing of indigence to be
15   entitled to a Monsanto hearing, but fail to make a prima facie showing that there is no
     probable cause, Defendants Padilla and Vaught could petition this Court for their counsel
16   of choice to be paid by the CJA Panel of the District of Arizona. Understanding that Messrs.
17   Piccarreta and Weiss may wish to withdraw instead, the Government takes no position on
     whatever decision Defendants Padilla and Vaught reach with their counsel.
18   22
        See, e.g., Ex. 3; see, also Doc. 360, Ex. C at 5. None of Defendants have attempted to
19   make such a showing. Counsel for Defendant Larkin expressed interest in doing so, and
     said they would provide general financial information showing need. However, to date,
20   nothing has been provided. See Correspondence between the Government and Counsel for
21   Larkin, attached hereto as Exhibit 6.
     23
        Defendants argue that the Government’s willingness to allow Ferrer, a cooperating
22   defendant, to use allegedly tainted assets for attorneys’ fees is “unseemly and undermines
23   the workings of the adversary system.” Doc. 456, at 12. Defendants are certainly entitled
     to argue at trial that any benefit the Government provides to a cooperating co-conspirator to
24   secure his cooperation - whether it be attorneys’ fees or anything else - affects the validity
     and potential bias of Ferrer’s testimony. Giglio v. United States, 405 U.S. 150 (1972) (the
25
     government must produce evidence to the defense that affects a government witness’s
26   credibility). But the Government’s duty is disclosure that a benefit has been provided in
     exchange for cooperation, a common occurrence in the justice system, so that the defense
27   can prepare adequately for trial. Here, that obligation has been met, and no constitutional
28   violation has occurred.



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 1            Evidence gathered during the course of the Government’s investigation suggests the
 2   reason for this is because Defendants cannot make a showing of financial need to this Court
 3   without, at a minimum, taking serious liberties with the truth of their actual financial
 4   situation.   Financial records obtained during the investigation of this case show that
 5   Defendants, particularly Lacey, Larkin, Spear, and Brunst 24, have been receiving hundreds
 6   of thousands of dollars - sometimes monthly - from business sources wholly unrelated to
 7   Backpage. Specifically, since the April 6, 2018 closure of Backpage.com, the company that
 8   purchased Defendant Lacey and Larkin’s alternative press newspapers (such as the Phoenix
 9   New Times, LA Weekly, and the Village Voice, hereafter, the “Company”), has continued
10   to make monthly debt service payments to Cereus Properties (one of Defendants’ related
11   entities), and later, directly to an IOLTA. In total, between August 2018 and early January
12   2019, the IOLTA held by Daniel J. Quigley PLC, received about $1,560,449.92 in allegedly
13   untainted funds via wire transfers from the Company. That same IOLTA paid out about
14   $1,242,783 to Quigley and other law firms via wire transfers and checks. The account also
15   paid out about $392,666.62 to Lacey, Larkin’s spouse, Brunst, and Spear’s spouse. See
16   Versoza Declaration, attached hereto as Exhibit 7. Defendants cannot make the required
17   threshold showing, and the Sixth Amendment is not implicated.
18   III.     CONCLUSION
19            Despite Defendants’ contention that this case is somehow different from every other
20   federal case that involves the seizure of proceeds and funds involved in money laundering,
21   as the Grand Jury of the District of Arizona and the Honorable Judges of the CDCA
22   determined in their probable cause findings - it is not. Rather than any of Defendants
23   attempting to make the requisite threshold showing of financial need to be entitled to a
24
     24
        Because Defendants Padilla and Vaught are the only two Defendants who could make
25
     even a colorable claim of financial need, the Government - in a phone call with defense
26   counsel Michael L. Piccarreta and Stephen M. Weiss - specifically invited them to submit
     financial records evidencing financial need, and the Government would consider releasing
27   attorneys’ fees, without requiring them to request a formal Monsanto hearing from this
28   Court. In response, Defendants Padilla and Vaught provided nothing, and filed this Motion
     to Dismiss, claiming “improper interference.”

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 1   Monsanto hearing, they raise meritless arguments and request dismissal of the Superseding
 2   Indictment. There is no valid legal basis for their claims and this Court should deny their
 3   continued attempts to end-run the proper federal forfeiture process. Because Defendants
 4   have failed to state a legal basis for any of their requests for relief, the Motions to Dismiss
 5   Due to Government Interference with Right to Counsel and Request for Disclosure, or in
 6   the Alternative, Motion to Withdraw (Docs. 456, 463, 464, 465, 467) should be denied in
 7   its entirety.
 8           Respectfully submitted this 25th of February, 2019.
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18
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19                                              JOHN J. KUCERA
                                                Special Assistant United States Attorney
20
                                                Attorneys for Plaintiff
21                                              UNITED STATES OF AMERICA
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                                 CERTIFICATE OF SERVICE
 1
            I hereby certify that on this date, February 25, 2019, I transmitted the foregoing
 2   under-seal document for filing to the Clerk of the United States District Court and sent a
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